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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

09/2b40% ARP 22; B5OHAK GORA 5 ASo ment 1 EMS REEL SPH ocket 09/21/2007 Pagelofs #002

case wo. 07-1 0047 CE -Mooke GALDEE)

UNITED STATES OF AMERICA

18 U.S.C. § 111(a)(1) -

8 U.S.C. § 1324(a)(1)(A(V))
8 U.S.C. § 1324(a)(1)(A)(iv)

18 U.S.C. § 2237(a)(1)

18 U.S.C. § 2237(a)(2)(A)

18 U.S.C. § 982(a)(6)(A)

 

VS.
MANUEL FRIERE,
YULIER GARCIA-MARTINEZ,
and
ABDULAY PEREZ,

Defendants.

/
INDICTMENT
The Grand Jury charges that:
COUNTI |

    

Sep? { 2007

CLARENCE MADDOX

 

CLERK U.S. DIST. CT,
dD. - * FT. LAUD,

 

 

On or about June 27, 2007, upon the high seas and out of the jurisdiction of any particular

State or district, with Monroe County, in the Southern District of Florida, being the district in which

the offender was first brought, and elsewhere, the defendant,

MANUEL FRIERE,

did forcibly assault, resist, oppose, impede, and interfere with United States Coast Guard Petty

Officers, persons designated in Title 18, United States Code, Section 11 14, while such Petty Officers

were engaged in and on account of the performance of their official duties, in violation of Title 18,

United States Code, Section 111(a)(1).
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COUNT 2
On or about June 27, 2007, upon the high seas and out of the jurisdiction of any particular

State or district, with Monroe County, in the Southern District of Florida, being the district in which
the offender was first brought, and elsewhere, the defendants,

MANUEL FRIERE,

YULIER GARCIA-MARTINEZ,
and

ABDULAY PEREZ,
did knowingly and willfully combine, conspire, confedcrate, and agree with each other and other
persons known and unknown to the Grand Jury, to commit an offense against the United States, that
is, to encourage and induce an alien to come to, enter, and reside in the United States, knowing and
in reckless disregard of the fact that such coming to, entry, and residence is and will be in violation
of law, in violation of Title 8, United States Code, Section 1324(a)(1)(A)(iv); all in violation of Title
8, United States Code, Section 1324(a)(1)(A)(v)(D.

COUNT 3
On or about June 27, 2007, on a vessel of the United States and subject to the jurisdiction of

the United States, with Monroe County, in the Southern District of Florida, being the district in
which the offender was first brought, and elsewhere, the defendant,

MANUEL FRIERE,
being the master, operator, and person in charge of such vessel, did knowingly and intentionally fail

to obey an order by authorized Federal law enforcement officers to heave to that vessel, in violation

of Title 18, United States Code, Section 2237(a)(1).
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COUNT 4

On or about June 27, 2007, on a vessel of the United States and subject to the jurisdiction of
the United States, with Monroc County, in the Southern District of Florid being the distict in which
the offender was first brought, and elsewhere, the defendants,

MANUEL FRIERE,

YULIER GARCIA-MARTINEZ,
and

ABDULAY PEREZ,
did knowingly and intentionally forcibly resist, oppose, prevent, impede, and interfere with a
boarding and other law enforcement action authorized by federal law and to resist a lawful arrest,
in violation of Title 18, United States Code, Sections 2237(a)(2)(A) and 2.

CRIMINAL FORFEITURE

a. The allegation of Count 2 of this Indictment is realleged and by this reference fully
incorporated herein for the purpose of alleging forfeitures to the United States of America of certain
property in which the defendant has an interest, pursuant to the provisions of Title 18, United States
Code, Section 982(a)(6)(A).

b. Upon conviction of the offense alleged in Count 2 of this Indictment, defendants
MANUEL FRIERE, YULTER GARCIA-MARTINEZ, and ABDULAY PEREZ, shall forfeit
to the United States (1) any propcrty, real or personal, constituting or derived from or traceable to
proceeds the person obtained directly or indirectly as the result of the afore stated offenses; and (2)

any property, real or personal (including a conveyance), used in the commission of or used or

intended to be used to facilitate the commission of, the afore said offenses.
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All pursuant to Title 18, United States Code, Section 982(a)(6) and the procedures sct forth

in Title 21, United States Code, Section 853.
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R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

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DONALD L. BROWN |
SPECIAL ASSISTANT UNITED STATES ATTORNEY
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Case 4:
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA CASE NO.
vs.
CERTIFICATE OF TRIAL ATTORNEY:
MANUEL FRIERE,
YURIEL GARCIA-MARTINEZ,
and ABDULAY PEREZ,
Defendants.
} Superseding Case Information:
Court Division: (Select One) New Defendant(s) Yes No
. Number of New Defendants ——
— Miami —xX_ ea West Total number of counts —
mw— FIL .. WPB _- FTP
I do hereby certify that:
1, | have carefully considered the allegations of the indictment, the number of defendants, the number of
probable witnesses and the legal complexities of the Indictment/Information attached hereto.
2. | am aware that the information supplied on this statement will be relied upon by the Judges of this
Courtin setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
Title 28 U.S.C. Section 3161.
3. Interpreter: (Yes or No) —Yes_
List language and/or dialec: Spanish
4. This case will take —i days for the parties to try.
Please check appropriate category and type of offense listed below:
{Check aniy ane) (Check enly one)
J 0 to 5 days —xX Petty —__
{| 6 to 10 days —_ Minor —___
{I 11 to 20 days ______ Misdem. —___
IV 21 to 60 days Felony —__
V 61 days and over
e Has this case been previously filed in this District Court? (Yes or No) No.
es!
Judge: Case No.
(Attach copy of dispositive order)
Has a complaint been filed in this matter? (Yes or No) —No_
es:
Magistrate Case No.
Related Miscellaneous numbers:
Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of
Is this a potential death penalty case? (Yes or No) Now,
7. Does this case originate from a matter pending in the U.S. Attorney's Office prior to
April 1, 2003? Yes _—X_ No
8, Does this case originate from a matter pending in the U. S. Attorey’s Office prior to
April 1, 19997 Yes w— xX No ©
If yes, Was it pending in the Central Region? Yes No
9. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior
to October 14, 20037 Yes No
10. Does this case originate from a matter pending in the Narcotics Section (Miami) prior to
May 18, 2003? Yes xX _ No
11. Doés this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
to September 1, 20077 Yes Xo No

 

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DONALD L. BROWN
ASSISTANT UNITED STATES ATTORNEY
Florida Bar No. 0685291

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

| Defendant's Name: MANUEL FRIERE

Case No:

Count # 1

Assault

Title 18, United States Code, Section 111(a)(1)
* Max, Penalty: Eight years’ imprisonment
Count #2

Conspiracy to Smugele Aliens

 

 

Title 8, United States Code. Section 1324(a\(1(AVv\D

* Max. Penalty: Five years' imprisonment

Count #: 3

Failure to Heave To

Title 18, United States Code, Section 2237(a)(1)

* Max. Penalty: Five years' imprisonment
Count #: 4 |

Obstruction of Boarding

Title 18, United States Code, Section 2237(a)(2)(A)

* Max. Penalty: Five years' imprisonment

* Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

 

Defendant's Name: YULIER GARCIA-MARTINEZ
Case No:

Count #2

Conspiracy to Smuggle Aliens
Title 8. United States Code, Section 1324(a)(1)(Av\D

 

 

* Max. Penalty: Five years' imprisonment
Count #: 4
Obstruction of Boarding

 

Title 18, United States Code, Section 2237(a)(2)(A)

* Max. Penalty: Five years' impnsonment

“ Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT. OF FLORIDA

PENALTY SHEET

Defendant's Name: ABDULAY PEREZ

 

Case No:

Count #2

Conspiracy to Smuggle Aliens

Title 8. United States Code, Section 1324(a\(1(A)vy(D
* Max. Penalty: Five years' imprisonment

Count #: 4 |

Obstruction of Boarding

Title 18, United States Code, Section 2237(a\(2(A)

* Max. Penalty; Five years' imprisonment

* Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
